                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 OHIO SECURITY INSURANCE           )             Civil Action No. 1:20-cv-18-WO-LPA
 COMPANY and THE OHIO CASUALTY )
 INSURANCE COMPANY,                )
                                   )
                       Plaintiffs, )
                                   )
 v.                                )
                                   )
 EKS WALL SYSTEMS, INC.,           )
 CENTERPOINTE CONSTRUCTION         )
 CORP., and McPEAKE MANAGEMENT, )
 LLC,                              )
                                   )
                       Defendants. )
                                   )


                              STIPULATION OF DISMISSAL

       Plaintiffs Ohio Security Insurance Company and The Ohio Casualty Insurance Company

and Defendants EKS Wall Systems, Inc., Centerpointe Construction Corp., McPeake

Management, LLC, and Cincinnati Insurance Company, by their attorneys of record, hereby

stipulate and agree that all claims and counterclaims between them in the above captioned action

be dismissed with prejudice pursuant to Rule 41 of the Federal Rules of Civil Procedure.

                              [SIGNATURE PAGE FOLLOWS]




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      Respectfully submitted, this 21st day of July, 2020.

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